      I        Case 3:22-cv-01241-JAH-NLS Document 1 Filed 08/22/22 PageID.1 Page 1 of 28
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                                       United States District Court
                                            Southern District of California
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                                                       Plaintiff,              )                        '22CV1241
                                                                                         Civil Case No. _  _ __ JAH                  NLS
                                                                               )         (To be supplied by Court Clerk)
    V.                                                                         )
                                                                               )
                                                                               )         Complaint under the
                                                                               )         Civil Rights Act
                                                                               )         42 u.s.c. § 1983
                                                                               )
(Enter full name of each defendant in this action.)                            )
                                                       Defendant( s).          )
___________________                                                            )
A. Jurisdiction

Jurisdiction is invoked pursuant to 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you wish to
assert jurisdiction under different or additional authority, list them below.


B. Parties

                                                                 De ·s ho W Af.
1. Plaintiff: This complaint alleges that the civil rights of Plaintiff,
/\h
L a ppe {
                    I
                          ,who presently resides at Sal I J\lo.S Iva/ IIe Y Jf-. ((' (::SON ·        (print Plaintiff't yame)


n/"\  aA' . IO - (:\ -- l j d /\A n3n I - 0 were violated by the actions of
l":v, r:J£,2_'/... l _ _50, .JU eoa JL.                             ~':]_CD ~
                                                                                         (mailing add~ess or place of confineme~t)
                                                                                          ,

the below named individuals. The actions were directed against Plaintiff at lr oJ\1                                     Wood
 SiEd-e Pr l'SoN.
     (institution/place where violation occurred)
                                                           on (dates) /.t;L?LJ/z/
                                                                          (Count I)
                                                                                      ,7{?IJ/21 ,and9/J7 /2/
                                                                                              (Count 2)                (Count 3)
                                                                                                                                .



         § 1983 SD Form
         (Rev. 8/ 15)
    Case 3:22-cv-01241-JAH-NLS Document 1 Filed 08/22/22 PageID.3 Page 3 of 28


2. Defendants: (Attach same information on additional pages if you are naming more than 4 defendants.)

 Defendant \A/         ardeN N. /tfc Do we{I resides in~=.Lrl..!!-,..i~ ~W~~____l<.__.!,~~~
                        (name)                                                        ~            (County of residence)
and is employed as a Cft;f<...              WardeN of I s
                                           (defendant's position/title (if any))
                                                                                      C.           . This defendant is sued in
~her • individual • official capacity.                      (Check one or both. )    Explain how this defendant was acting under
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color of law:
fur +be. da, I'/ op€2Ccrffo,AL'1 of- I/l.wJ \JXXJC( sf-a fe
Pr t:5'QNS CD flcec-fcotJO I QM CLa/s, /'1edcul /\1 H, ::e rv&s .
 Defendant           L+ s.Lopez,
                        (name)       }                _j_
                                                                          resides      inlj?OAt\J..l{X)d :Jf.
                                                                                    {' -       p    (County of residence)
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and is employed as a           J<_wes V10/a1Lo¢1,5tfo (Jt-LS . . This defendant is sued in
                                           (defendant's position/title (if any))
.his/her • individual • official capacity.                  (Check one or both.)     Explain how this defendant was acting under
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 Defendant           Li.N. Nu NQ e2
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                                         resides inTS p. LGVe ,CA .
  Defendant
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                        (name)),_ (j)/     . ..L. /
and is employed as a AJL- E'-1 y iQCfi?rn2,vc 1-T - . This defendant is sued in
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                                           (defendant's position/title (if any))
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    (Rev . &/ 15)                                                          2
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 Case 3:22-cv-01241-JAH-NLS Document 1 Filed 08/22/22 PageID.6 Page 6 of 28




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 C. Causes of Action (You may attach additional pages alleging other causes of action and the facts supporting
 them if necessary.)
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 due process, free speech, freedom of religion, freedom of association, freedom from cruel and unusual punishment, etc.)




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Count 3: The following civil right has been violated:FC\tlUre                  10     Rioted H'OJVl C7)c<g.
  ii7. Je          ~        ofPi         At,             ('           (E.g., right to medica_.hcare~ ccess ,!Sl courts,
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due process, free speech, freedom ofreligion, freedom of association, freedom from cruel and unusual punishment, etc.)

  Supporting Facts: [Include all facts you consider important to Count 3. State what happened clearly and in your own
words. You need not cite legal authority or argument. Be certain to describe exactly what each defendant, by name, did to
violate the right alleged in Count 3.]
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  thereto




  § 1983 SD Form
  (Rev. 8/15)                                                 5
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D. Previous Lawsuits and Administrative Relief
  1. Have you filed other lawsuits in state or federal courts dealing with the same or similar facts
involved in this case? • Yes )( No.

 If your answer is "Yes", describe each suit in the space below. [If more than one, attach additional pages
providing the same information as below.]

 (a) Parties to the previous lawsuit:
                                             A----------------
 Plaintiffs: - - - - - - - - - - - - - - ~ ~-~

 Defendants:       ------------~N~ -~A~-----------
 (b) Name of the court and docket number: _ _ _ _ _.:_
                                                    N_ -_,_A
                                                           ____..__ _ _ _ _ _ _ _ __

                                            N-
                                                                                          ~
                                                                                          N-~~A
 (c) Disposition: [ For example, was the case dismissed, appealed, or still pending?] _ _ _   ~ --
                                                 N- A
 (d) Issues raised:                              Al-A
                                                 N-
                                                 N-A
                                                 N-A
                                                 N-A
  (e) Approximate date case was filed:      -------~N___-~~
                                                          A ------
  (f) Approximate date of disposition:      ------~N
                                                   ~-~A_______
  2. Have you previously sought and exhausted all forms of available relief from the proper
administrative officials regarding the acts alleged in Part C above? [E.g., CDCR Inmate/Parolee Appeal Form
602, etc.] ? • Yes • No.

 If your answer is "Yes", briefly describe how relief was sought and the results. If your answer is "No",
briefly explain why administrative relief was not exhausted.




  § 1983 SD Form
  (Rev. 8/15)                                           6
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E. Request for Relief
 Plaintiff requests that this Court grant the following relief:
                   1. An injunction preventing defendant(s):

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                                                             oo__                           rr,11 c.A-rl-s I 030s .
                   2. Damages in the sum of$        l 5Q ,cxrz:L
                   3. Punitive damages in the sum of$ ___;:;_
                                                         5_,0"""·--"-"=
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    Plaintiff demands a trial by • Jury ~ Court. (Choose one.)

G. Consent to Magistrate Judge Jurisdiction

   In order to insure the just, speedy and inexpensive determination of Section 1983 Prisoner cases filed in
this district, the Court has adopted a case assignment involving direct assignment of these cases to
magistrate judges to conduct all proceedings including jury or bench trial and the entry of final judgment
on consent of all the parties under 28 U.S.C. § 636(c), thus waiving the right to proceed before a district
judge. The parties are free to withhold consent without adverse substantive consequences.

   The Court encourages parties to utilize this efficient and expeditious program for case resolution due to
the trial judge quality of the magistrate judges and to maximize access to the court system in a district where
the criminal case loads severely limits the availability of the district judges for trial of civil cases. Consent
to a magistrate judge will likely result in an earlier trial date. If you request that a district judge be
designated to decide dispositive motions and try your case, a magistrate judge will nevertheless hear and
decide all non-dispositive motions and will hear and issue a recommendation to the district judge as to all
dispositive motions.

   You may consent to have a magistrate judge conduct any and all further proceedings in this case,
including trial, and the entry of final judgment by indicating your consent below.

Choose only one of the following:
           Plaintiff consents to magistrate            OR              Plaintiff requests that a district judge
           judge jurisdiction as set forth
                                                                 0     be designated to decide dispositive
           above.                                                      matters and trial in this case.


 Date                                                                    Signature of Plaintiff




  § 1983 SD Form
  (Re,,. 8/ 15)                                                 7
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                                      INSTRUCTIONS FOR FILING
                           CIVIL RIGHTS COMPLAINT UNDER 42 U.S.C. § 1983
                                  IN THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA


                ( 1) This complaint must be legibly handwritten or typewritten, and signed by the
                plaintiff. All questions must be answered concisely in the proper space on the form.
                Do NOT write on the back of any page. No citation of case or statutory authority is
                necessary.

                (2) Additional pages not to exceed fifteen ( 15) in number may be included with the
                court approved form complaint, provided the form is completely filled in to the
                extent applicable in the particular case: This limitation does rtot include exhibits.

                (3) Upon receipt of a fee of $400 ($350 statutory fee and $50 administrative fee)
                your complaint will be filed if it is in proper order. The $400 fee must be submitted
                with the complaint, not separately.

                (4) If you do not have the necessary funds to pay the filing fee or cannot afford to
                pay for transcripts, counsel, appeal, or other costs connected with this civil action,
                you may request permission to proceed in forma pauperis, in which event you must
                execute a separate form provided by the Court, entitled "Motion and Declaration
                Under Penalty of Perjury in Support of Motion to Proceed In Forma Pauperis~'
                setting forth information establishing your inability to pay fees or costs.

                   IF YOU ARE A PRISONER, you must attach a certified copy of your prison
                   trust account statements for the 6-month period immediately preceding the
                   filing of the complaint per 28 U.S.C. § 1915(a)(2) or your motion to proceed
                   in forma pauperis will be denied. Even if your motion to proceed in forma ·
                   pauperis is granted, however, the Court may assess an initial partial filing
                   fee at the time your action is file and the $50 administrative fee will be
                   waived. After the initial partial fee is assessed, YOU WILL STILL OWE
                   THE BALANCE OF THE $350 STATUTORY FILING FEE WHICH THE
                   COURT WILL ORDER GARNISHED FROM YOUR PRISON TRUST
                   ACCOUNT.

                (5) When the complaint is fully completed, it must be mailed to:

                                        Clerk of U.S. District Court
                                       333 West Broadway, Suite 420
                                           San Diego, CA 92101
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